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                 IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

ROOT, INC., et al.,                           : Case No.: 2:23-cv-00512

                                Plaintiffs, : Judge Sarah Morrison

       v.                                     : Magistrate Judge Chelsey Vascura

BRINSON CALEB “BC” SILVER, et :
al.,
                               :
                   Defendants.

                    MOTION TO WITHDRAW AS COUNSEL

      Now come attorneys David M. Scott and Aaron M. Jones, of the law firm

Brennan, Manna & Diamond, and hereby respectfully move the Court for leave to

withdraw as counsel of record for Defendants, Brinson Silver, Eclipse Home Design,

LLC, and Collateral Damage, LLC (“Defendants”), pursuant to Local Rule 83.4(b) and

Rule of Professional Conduct 1.16(a) and 1.16(b). Counsel submit that professional

considerations   require   termination   of   their   representation   of   Defendants.

Contemporaneously with this Motion, Counsel have filed a request for a 21-day

extension of time, to June 1, 2023, for Defendants to move or plead. This request is

made to ensure Defendants would have ample time to secure new representation and

file responsive pleadings.   Counsel have informed Defendants of all upcoming

hearings and deadlines in this matter, including the scheduled hearing at 3:00 p.m.

on Friday, May 12, 2023. Counsel has provided a copy of this Motion to Withdraw to

Defendants and all other parties, in compliance with Local Rule 83.4(b). Pursuant to

the Court’s oral instructions, the undersigned have confirmed that Mr. Silver’s
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criminal counsel does not intend to enter an appearance in this civil matter.

Accordingly, the undersigned respectfully move to withdraw as counsel for

Defendants Brinson Silver, Eclipse Home Design, LLC, and Collateral Damage, LLC.



                                        Respectfully submitted,

                                        /s/ Aaron M. Jones
                                        David M. Scott (0068110)
                                        Aaron M. Jones (0096386)
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                                        Attorneys for Defendants Brinson Caleb “BC”
                                        Silver Eclipse Home Design, LLC and
                                        Collateral Damage, LLC


                          CERTIFICATE OF SERVICE

      I hereby certify that on the 9th day of May 2023, a copy of the foregoing was

filed electronically. Notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system. Parties may access this filing through the

Court’s system.

      A copy was also sent by ordinary U.S. Mail, postage prepaid, to the following:

      Paige McDaniel
      5576 Alexanders Lake Road
      Stockbridge, GA 30281

                                               /s/ Aaron M. Jones
                                               Aaron M. Jones (0096386)




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4884-9829-4609, v. 2




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